                              UNITED STATES BANKRUPTCY COURT
                                                          Western District of Washington (Seattle)
In re Julian Flores                                                                                               Case No. 11-20512
      Debtor                                                                                                      Chapter 13
Notice of Mortgage Payment Change

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to § 1322(b)(5), you must use this
form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days before the new
payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:       Wells Fargo Bank, N.A.                                                 Court claim no. (if known): 3
Last four digits of any number you                                                       Date of payment change:
                                                                                                                                               12/15/2014
use to identify the debtor's account: 6863                                               Must be at least 21 days after date of this notice

                                                                                         New total payment:                                    $1,800.07
                                                                                         Principal, Interest, and escrow, if any
Uniform Claim Identifier:


Part 1: Escrow Account Payment Adjustment
   Will there be a change in the debtor's escrow account payment?
        No
        Yes.   Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                  Describe the basis for the change. If a statement is not attached, explain why:



                        Current escrow payment:             $371.68                            New escrow payment:            $334.59

Part 2: Mortgage Payment Adjustment
   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate note?
        No
        Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                  If a notice is not attached, explain why:



       Current interest rate:                                                            New interest rate:
       Current principal and interest payment:                                           New principal and interest payment:

Part 3: Other Payment Change
   Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.     Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                 modification agreement. (Court approval may be required before the payment change can take effect.)
       Reason for change:


                    Current mortgage payment:                                                         New mortgage payment:




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The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing
a proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and
any supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.
Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
   number if different from the notice address listed on the proof of claim to which this Supplement applies.
   Check the appropriate box:
       I am the creditor.         I am the creditor's authorized agent.
                                  (Attach a copy of power of attorney, if any.)

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information,
  and reasonable belief.

        /s/ Xavier Brooks                                                             Date 11/08/2014
        VP




 Print: Xavier Brooks                                                                 Title   VP


 Company     Wells Fargo Mortgage                                                     Specific Contact Information:
 Address     A/K/A Wachovia Mortgage                                                  P: 210-624-5767
             4101 Wiseman Blvd                                                        E: NoticeOfPaymentChangeInquiries@wellsfargo.com
             San Antonio, TX 78251




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                            UNITED STATES BANKRUPTCY COURT
                                                     Western District of Washington (Seattle)

                                                                          Chapter 13 No. 11-20512
 In re:                                                                   Judge: Timothy W Dore

 Julian Flores

                                                  Debtor(s).


                                                   CERTIFICATE OF SERVICE
 I hereby certify that on November 08, 2014, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre
 paid, or via filing with the US Bankruptcy Court's CM ECF system.

 Debtor:                   Julian Flores
                           30845 10th Ave SW
                           Federal Way, WA 98023



 Debtor's Attorney:        Jonathan S Smith
                           Advantage Legal Group
                           12207 NE 8th St



 Trustee:                  K Michael Fitzgerald
                           600 University St ;2200
                           Seattle, WA 98101




                                                                          /s/ Bill Taylor
                                                                          Authorized Agent




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